                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF CONNECTICUT

MARTIN JOHNSON and JANE DOE on behalf
of themselves and all others similarly situated,

                              Plaintiffs,
                                                                                          No.: 3:21-cv-01214
 v.

FRANK KENDALL,
Secretary of the Air Force,                                                               September 13, 2021
                                Defendant.




                       MEMORANDUM OF LAW IN SUPPORT OF MOTION BY
                           PLAINTIFFS FOR CLASS CERTIFICATION


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                                        INTRODUCTION

         Thousands of people join the Air Force every year seeking to serve their country. These

individuals are asked to sacrifice a great deal, and some will suffer from mental health conditions

or other disabilities as a result of their service. Instead of honoring these efforts and recognizing

the effects of these experiences, the Air Force discharges many of these veterans with less-than-

Honorable statuses. These discharge characterizations will punish veterans for the rest of their

lives.

         Recognizing the severe consequences of these discharges, Congress established

administrative boards during World War II to allow veterans to later apply for upgrades for

improper or inequitable discharges. In recent years, however, these Boards, including the Air Force

Discharge Review Board (“AFDRB”), have repeatedly failed to follow the requirements of

Congress, the Department of Defense, and the Constitution.

         In 2014, then-Secretary of Defense Chuck Hagel directed the Boards to give “liberal” or

“special” consideration to applications based on post-traumatic stress disorder (“PTSD”) or related

conditions. In 2016, Congress codified the “liberal consideration” standard in statute, and in 2017,

the Department of Defense (“DoD”) ordered that liberal consideration be given to veterans

petitioning for discharge relief based on experiences of military sexual trauma or on the basis of

an expanded list of mental health conditions. DoD has subsequently issued additional guidance

requiring the boards to consider several factors “to ensure fundamental fairness” when making

discharge upgrade determinations. Collectively, the Hagel, Kurta, and Wilkie Memoranda seek to

recognize the effects of mental health conditions, traumatic brain injury (“TBI”), and military

sexual trauma (“MST”) in the context of discharge proceedings.




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        Yet the AFDRB has consistently failed to implement these binding statutes and

instructions—denying more than 70% of the mental health applications, and 60% of military

sexual trauma-related applications it receives. Moreover, the Board has refused to adjudicate

discharge upgrades in a manner consistent with the constitutional requirements of due process or

the statutory requirements of the Rehabilitation Act of 1973. Air Force veterans, led by Plaintiffs

Martin Johnson and Jane Doe, ask this Court to review the AFDRB’s systemic failures. Mr.

Johnson and Ms. Doe move for class certification pursuant to Federal Rule of Civil Procedure 23

so that they and other similarly situated veterans may secure a remedy for the persistent structural

and constitutional failures at the AFDRB.

        This is not the first time that veterans have been forced to sue a service branch for

unlawfully denying discharge status upgrade applications and ignoring the effects of PTSD,

military sexual trauma, and other mental health conditions. Indeed, Judge Haight and Judge

Eginton certified classes bringing similar claims against the Navy and the Army. See Manker v.

Spencer, 329 F.R.D. 110 (D. Conn. 2018) (certifying class of Navy and Marine Corps veterans);

Kennedy v. Esper, No. 16-CV-2010, 2018 WL 6727353 (D. Conn. Dec. 21, 2018) (certifying class

of Army veterans). Ms. Doe and Mr. Johnson propose a similar class definition for Air Force

veterans suing the AFDRB as the court-approved definitions in these prior cases. Consistent with

these prior decisions, the proposed class of Air Force veterans should also be certified.

   I.      FACTS AND PROCEEDINGS

               A. Plaintiffs’ Military Service

                     1. Ms. Doe’s Military Service

        Plaintiff Doe is a Black woman who currently resides in Connecticut. Complaint, ECF No.

1 ¶ 36. Ms. Doe enlisted in the Air Force in 2013. Id. ¶ 37. At the end of basic training, Ms. Doe




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began dating a fellow Airman. Id. ¶ 38. At least two Airwomen noticed that Ms. Doe’s boyfriend

was verbally abusive to her. Id.

       In 2014, shortly before graduating from technical school, Ms. Doe was raped by another

Airman during a social gathering. Id. ¶ 40. The next month, Ms. Doe failed a physical fitness test

and, as a result, received her first low-level reprimand, a letter of counseling. Id. ¶ 42.

       In late 2014, Ms. Doe was transferred to the base where her boyfriend was stationed.

Id. ¶ 44. Her boyfriend subjected Ms. Doe to physical and emotional abuse, which continued

throughout the remainder of Ms. Doe’s time in the Air Force. Id. Because Ms. Doe did not initially

admit that she was being abused, investigators wrongly determined during a physical altercation

that she was the aggressor in the relationship and issued a 30-day no contact order (“NCO”). Id.

¶¶ 48-49. Her commander later ordered a three-year military protective order (“MPO”) requiring

Ms. Doe and her boyfriend to refrain from contact. Id.

       Because of the stress and trauma caused by Military Sexual Trauma and intimate partner

violence (“IPV”) that Ms. Doe experienced, as well as her serious mental health symptoms—later

diagnosed as PTSD—Ms. Doe’s job performance suffered. Id. ¶ 50. As a result, she received two

letters of reprimand and a nonjudicial punishment for minor infractions. Id. Ms. Doe was

discharged with a General (Under Honorable Conditions) discharge status in 2016. Id. ¶ 54. The

narrative reason for her separation was given as “Minor Misconduct.” Id. Ms. Doe’s General

(Under Honorable Conditions) status does not accurately reflect the nature of her service, nor does

the recorded reason for separation.

       In 2020, Ms. Doe received a diagnosis of PTSD from her VA provider. Id. ¶ 57. She also

received a PTSD diagnosis from forensic psychiatrists. Id. The “minor misconduct” that resulted

in her discharge was a direct result of the MST she experienced and her resulting PTSD. Id. ¶ 59.




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                     2. Mr. Johnson’s Military Service

       Plaintiff Johnson is a Black man who currently resides in Massachusetts. Id. ¶ 71. In 2005,

Mr. Johnson enlisted in the Air Force; he began his service in April 2006. Id. ¶ 72. Early in his

service, he initially struggled to adjust to Air Force norms and was cited for minor infractions, but

Mr. Johnson understood, accepted, and complied with his reprimands and committed to making

improvements. Indeed, he subsequently received awards and was praised and recommended for

promotion by the same superiors who had originally disciplined him. Id. ¶¶ 73–76.

       In 2007, during Mr. Johnson’s first week deployed in Iraq, a bomb exploded near him. Id.

¶ 78. To this day, he struggles being near fireworks and loud explosions. Id. Mr. Johnson’s

experience in Iraq placed him in a fragile mental state, which was further strained upon his return

home when he discovered that his wife of two years was having an extramarital affair. Id. ¶¶ 79–

80. The emotional impact of his service coupled with the dissolution of his marriage negatively

impacted both his personal and professional life. Id.

       Because of mental stress caused by PTSD, and depression worsened by learning of his

wife’s affair, Mr. Johnson’s excellent conduct suffered. He was cited for minor behavioral

infractions and received an Article 15—a non-judicial reprimand for minor infractions—for failing

to keep the cleanliness of his house in order. Id ¶¶ 81–82. Receiving reprimands for these relatively

minor infractions had a devastating and spiraling effect on Mr. Johnson’s depression and general

mental health. Id. ¶ 82. Despite these challenges, Mr. Johnson continued to accept additional work

shifts and volunteer during his time off, and continued to receive praise for his excellent

performance. Id. ¶¶ 83–84.

       Unfortunately, despite Mr. Johnson’s efforts to persevere through his mental anguish, the

Air Force began separation proceedings in December 2009. Id. ¶ 87. The proceedings cited a




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“pattern of misconduct consisting solely of minor disciplinary infractions.” Id. Mr. Johnson was

separated with a General (Under Honorable Conditions) discharge in early 2010. Id.

        Since his discharge, Mr. Johnson has been diagnosed by a VA psychologist with recurrent

major depressive disorder, social anxiety disorder, attention deficit/hyperactivity disorder

(“ADHD”), and PTSD, as well as other trauma. Id. ¶ 89. All of these disorders are a result of events

that occurred during his service. Id. Despite his mental health struggles, Mr. Johnson has continued

to improve himself both professionally and personally; he participates in and has completed

programs to treat his PTSD, ADHD, and depression, as well as obtained a culinary certificate. Id.

¶ 90-91.

                B. AFDRB’s Denial of Plaintiffs’ Administrative Applications

        In August 2020, Ms. Doe applied to the AFDRB, requesting that her discharge status be

upgraded to Honorable. Id. ¶ 62. She presented substantial documentary and testimonial evidence

demonstrating that her minor misconduct was attributable to, and mitigated by, her then-

undiagnosed PTSD. Id. At the virtual hearing, Ms. Doe was represented by pro bono counsel. Id.

¶ 63. Ms. Doe provided testimony, as did a psychiatrist who testified about Ms. Doe’s PTSD and

its effects on her behavior. Id.

        Despite the psychiatrist’s presence at the hearing, the Board did not direct any questions to

the doctor. Id. ¶ 64. The Board instead asked Ms. Doe to explain how her behavior at the time of

her discharge constituted symptoms of PTSD, and why a different diagnosis was not more

appropriate. Id. On December 28, 2020, the AFDRB denied Ms. Doe’s discharge upgrade

application in terse, boilerplate language. Id. ¶ 65.

        In 2020, Mr. Johnson also applied to the AFDRB requesting that his discharge status be

upgraded to Honorable. Id. ¶ 95. He too presented substantial documentary and testimonial

evidence demonstrating that his minor misconduct was attributable to, and mitigated by, his in-


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service trauma. Id. Like Ms. Doe, Mr. Johnson was represented by pro bono counsel throughout

his discharge upgrade proceedings. Id. ¶ 95. Nevertheless, on May 18, 2021, the AFDRB

unanimously denied Mr. Johnson’s discharge upgrade application in boilerplate language. Id. ¶

96-97.

                C. AFDRB’s Failure to Ensure a Fair Discharge Review Process

         The AFDRB failed to apply liberal consideration to Ms. Doe’s two documented diagnoses

of PTSD—one by a VA practitioner and one by private doctors. Id. ¶ 66. Further ignoring the

requirements of binding agency guidance, the Board did not afford Ms. Doe’s application liberal

consideration despite evidence of her experiences of MST and IPV. Id. ¶ 67; see also Complaint,

ECF No. 1., Exs. 1-3.

         The Board also ignored the Hagel, Kurta, and Wilkie Memos’ requirements in finding that

Ms. Doe’s experiences of MST, IPV, and resulting PTSD did not mitigate her misconduct. Id. ¶

68. The Board merely recited that “the administrative actions taken by [Ms. Doe’s] chain of

command” gave her “ample opportunities to change her negative behavior.” Id. The AFDRB did

not explain what administrative actions taken by Ms. Doe’s chain of command provided her with

such opportunities, nor how these administrative actions could have resolved the impact of Ms.

Doe’s experiences of MST, IPV, and resulting PTSD on her conduct. Id. ¶ 69.

         The AFDRB also did not explain why it disregarded the evidence from a psychiatrist that

Ms. Doe’s experiences of MST, IPV, and resulting PTSD symptoms played an instrumental role

in the minor infractions she committed. Id. ¶ 70. Instead, the Board merely stated that it “found no

conclusive indication that any mental health issues had a direct impact on the applicant’s

misconduct or discharge.” Id..

         Similarly, the AFDRB failed to apply liberal consideration to Mr. Johnson’s documented

diagnoses of PTSD, depression, and other mental health conditions. Id. ¶ 97. The AFDRB’s failure


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to recognize the VA psychologist’s diagnosis of Mr. Johnson’s recurring major depressive

disorder, social anxiety disorder, PTSD, and other trauma clearly ignores the Hagel and Kurta

Memos’ requirements. Id. ¶ 98. Instead, the Board noted summarily that “most of the misconduct

was prior to his deployment,” without recognizing that Mr. Johnson was discharged for his post-

deployment behavior. Id.

       The Plaintiffs’ experiences before the AFDRB are emblematic of the thousands of veterans

who form the putative class and who have been deprived of their statutorily mandated access to

the discharge upgrade procedures set forth by Congress and implemented by the Department of

Defense.

       From 2002 to 2013, over fifteen percent of all service members have left the military with

less-than-Honorable discharges. Id. ¶ 101. By contrast, approximately seven percent of Vietnam-

Era veterans and less than two percent of World War II-Era veterans received less-than-Honorable

discharges. Id. Many veterans with less-than-Honorable discharges were discharged due to

misconduct attributable to PTSD, TBI, or other mental health conditions that they developed

because of their military service, or due to experiences of MST. Id. ¶ 108.

       Despite this crisis, the Board ignores the standards set out by binding guidance and

congressional mandate by unlawfully denying the discharge upgrade applications of these veterans

in violation of the Constitution, the Administrative Procedure Act, and Section 504 of the

Rehabilitation Act.

               D. Prior Class Actions on Behalf of Veterans with PTSD in this District

       In 2012 and again in 2014, Vietnam War veterans filed proposed class actions in this

District to challenge the refusal of military discharge review boards to appropriately consider the

effects of PTSD. Shepherd v. McHugh, No. 3:11-cv-641-AWT (D. Conn. Am. Comp. filed Oct. 19,




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2012);1 Monk v. Mabus, No. 3:14-cv-00260-WWE (D. Conn. filed Mar. 3, 2014). While a motion

for class certification was pending in Monk, then-Secretary of Defense Chuck Hagel directed the

Boards to revise their adjudication procedures, including giving “liberal consideration” to PTSD

claims. See Hagel Memo. Judge Eginton then remanded the claims of the individual plaintiffs in

Monk, and on remand, all five Monk plaintiffs received discharge upgrades.2

        Unfortunately, even after issuance of the Hagel Memo, the Discharge Review Boards

(DRBs) failed to produce equitable outcomes for veterans with less-than-Honorable discharges

and service-connected mental health conditions. As a result, veterans with PTSD and less-than-

Honorable discharges returned to court in this District. In 2017, Army veterans of Iraq and

Afghanistan sued the Army, see Kennedy v. Esper, No. 16-cv-2010, 2018 WL 6727353 (D. Conn.

Dec. 21, 2018) (granting class certification); see also id., ECF No. 223 (Apr. 26, 2021) (granting

final approval to class settlement). In 2018, a Marine Corps veteran and a veterans organization

sued the Navy, on behalf of recent Navy and Marine Corps veterans. Manker v. Spencer, 329 F.R.D.

110 (D. Conn. 2018) (granting class certification); see also id., ECF No. 191 (June 28, 2021)

(noting parties have reached an agreement in that case, subject to court approval).

        Plaintiffs now move for the certification of a similar class of Air Force veterans pursuant

to Fed. R. Civ. P. 23(a), (b)(2).




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  The class claims in Shepherd were dismissed after the Army agreed to upgrade the discharge status of
the single named plaintiff. Shepherd v. McHugh, No. 3:11-cv-641-AWT, ECF Nos. 83, 85.
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  To ensure the Hagel Memo was properly implemented, the Monk organizational plaintiffs submitted and
litigated Freedom of Information Act requests. See Vietnam Veterans of America, et al., v. U.S. Dept. of
Defense, No. 3:15-cv-00658-VAB (D. Conn. filed May 4, 2015). The litigation was settled with DoD’s
agreement to provide quarterly reports for two years regarding applications and adjudications by each
service branch. Id., ECF No. 23. In 2016, Congress largely codified the VVA v. DoD FOIA settlement into
statute, requiring the service branches to continue providing data regarding PTSD-based applications and
adjudications on a quarterly basis. See National Defense Authorization Act of 2017, Pub. L. No. 114-328,
§ 533(b), 130 Stat. 2000, 2121-22 (Dec. 23, 2016) (codified at 10 U.S.C. § 1553(f)).


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   II.      ARGUMENT

         The Court should certify this case as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(2). Plaintiffs seek to certify a class of all Air Force veterans who: (a)

received less-than-Honorable discharges from the Air Force (this includes General and Other-than-

Honorable discharges from the Air Force and Air Force Reserve; and Bad Conduct discharges from

special court-martials, but excludes uncharacterized discharges); (b) were discharged within the

last fifteen years or, if discharged more than fifteen years ago, received a discharge upgrade

decision from the AFDRB within the last six years; (c) have not received discharge upgrades to

Honorable; and (d) have mental health conditions including, but not limited to, PTSD, PTSD-

related conditions, or TBI, or experiences of MST or IPV that have resulted in a physical or mental

impairment that substantially limits one or more major life activities. The proposed class comprises

thousands of individuals, all of whom have faced or will face the same unlawful treatment by the

AFDRB—namely the AFDRB’s illegal and discriminatory treatment of claims for upgrades based

on PTSD, TBI, an experience of MST or IPV, or other mental health conditions.

         The proposed class representatives are Ms. Doe and Mr. Johnson. Proposed class

representatives will vigorously represent the interests of the class in seeking injunctive relief to

remedy violations of law that impact the class as a whole. The AFDRB’s illegal conduct includes

its failure to comply with the binding Hagel, Kurta, and Wilkie Memos, including as codified in

statute; failure to apply consistent standards when deciding discharge upgrade applications; failure

to maintain records essential to the fair adjudication of applications; and discrimination against

individuals with disabilities. This conduct negatively affects the ability of veterans to have their

improper or inequitable discharges corrected, as all members of the proposed class have been or

will be denied a fair and non-discriminatory review of their applications. The proposed class




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members’ injuries derive from a systematic course of conduct, supervised and controlled by

Defendant.

        Plaintiffs meet the requirements for class certification under Rules 23(a) and 23(b)(2), and

the Court should certify this case as a class action.

                A. Summary of Applicable Standards

        The decision to certify a class must occur “[a]t an early practicable time after a person sues

or is sued as a class representative.” Fed. R. Civ. P. 23(c)(1)(A). For class certification, the Court

takes the allegations in the complaint to be true. 3 Shelter Realty Corp. v. Allied Maint. Corp., 574

F.2d 656, 661 n.15 (2d Cir. 1978); Matyasovszky v. Hous. Auth., 226 F.R.D. 35, 39 (D. Conn. 2005).

For certification as a class action to be granted, Plaintiffs must satisfy the requirements of Rule

23(a), including numerosity, commonality, typicality, and adequacy. See infra, Section II(C).

         Plaintiffs seek certification under Rule 23(b)(2), which requires that the injunctive or

declaratory relief sought “is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

Thus, the injunction sought must, on its own, provide relief to “each member of the class.” Wal-

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360–61 (2011). Both Rule 23(a) and (b) are given “liberal

rather than restrictive construction.” Marisol A. v. Giuliani, 126 F. 3d 372, 377 (2d Cir. 1997).

        Courts, including ones in this district, have previously certified Rule 23 classes challenging

the unlawful practices by military boards. See, e.g., Manker, 329 F.R.D. 123 (certifying class of

Iraq and Afghanistan-era Navy and Marine Corps veterans who had received less-than-Honorable

discharges, had not received a discharge upgrade to Honorable, and had diagnoses or other



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  The facts set forth in this Memorandum are, except where noted, those alleged in the Complaint. If
Defendant seeks to challenge the evidentiary basis for Plaintiffs’ arguments in this memorandum, Plaintiffs
request the opportunity to conduct discovery of facts relevant to class certification. See In re Initial Pub.
Offerings Sec. Litig., 471 F.3d 24, 40 (2d Cir. 2006) (holding district courts have discretion to allow
discovery to address factual disputes relevant to Rule 23 determinations).


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indications of PTSD, TBI, other mental health conditions, experiences of MST); Kennedy v. Esper,

No. 16-cv-2010, 2018 WL 6727353, at *1 (D. Conn. Dec. 21, 2018) (same with respect to Army

veterans); see also Walters v. Sec’y of Def., 533 F. Supp. 1068, 1069 (D.D.C. 1982), rev'd on other

grounds, 725 F.2d 107 (D.C. Cir. 1983) (certifying class of former Air Force, Navy, and Marine

Corps personnel who had received less-than-Honorable discharges on basis of compelled

urinalysis); Giles v. Sec. of the Army, 627 F. 2d 554 (D.C. Cir. 1980) (certifying class of enlisted

Army personnel who had received less-than-Honorable discharges on basis of compelled

urinalysis); Larinoff v. United States, 365 F. Supp. 140 (D.D.C. 1973) (certifying class of Navy

personnel claiming entitlement to reenlistment bonus).

               B. Proposed Class Definition

       An order certifying a class action must define the class. See Fed. R. Civ. P. 23(c)(1)(B).

However, Rule 23(b)(2) classes do not require “precise delineation” where the action “seeks

equitable relief as opposed to money damages.” Floyd v. City of New York, 283 F.R.D. 153, 171

(S.D.N.Y. 2012) (citing Handschu v. Special Servs. Div., No. 71 Civ. 2203, 1979 U.S. Dist. Lexis

12148, at 3 (S.D.N.Y. May 25, 1979) (Haight, J.)).

       The proposed class includes all Air Force veterans who:

       (a) were discharged with less-than-Honorable discharges from the Air Force (this includes

General and Other-than-Honorable discharges from the Air Force, Air Force Reserve, and Air

National Guard; and Bad Conduct discharges from special court-martials, but excludes

uncharacterized discharges);

       (b) were discharged within the last fifteen years or, if discharged more than fifteen years

ago, received a discharge upgrade decision from the AFDRB within the last six years;

       (c) have not received discharge upgrades to Honorable; and




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        (d) have mental health conditions such as PTSD and PTSD-related conditions, TBI, or

experiences of MST or IPV, that have resulted in a physical or mental impairment that substantially

limits one or more major life activities, or have records documenting one or more of the

aforementioned experiences or conditions.

        Plaintiffs seek an injunction that would require Defendant to adopt review procedures that

comply with the Administrative Procedure Act, Rehabilitation Act, and Due Process Clause of the

Fifth Amendment for all applications for discharge upgrades submitted by members of this class.

The definition proposed by Plaintiffs thus defines the class of persons unjustly burdened by

Defendant’s actions.

                C.       Plaintiffs Satisfy the Requirements of Rule 23(a)

        Rule 23(a) sets forth four requirements to certify a class: (a) “the class is so numerous that

joinder of all members is impracticable;” (b) “there are questions of law or fact common to the

class;” (c) “the claims or defenses of the representative parties are typical of the claims or defenses

of the class;” and (d) “the representative parties will fairly and adequately protect the interests of

the class.” Fed. R. Civ. P. 23(a). Plaintiffs satisfy all four requirements.

                       1.       Numerosity

        Plaintiffs’ proposed class plainly satisfies the numerosity requirement because it is “so

numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Although there

is no magic minimum number that will breathe life into a class . . . [t]he numerosity requirement

of Rule 23(a)(1) is presumed satisfied for classes with more than forty members.” Estate of

Gardner v. Cont'l Cas. Co., 316 F.R.D. 57, 69 (D. Conn. 2016) (internal quotations and citations

omitted); see Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995) (citing 1

Newberg on Class Actions 2d (1985 Ed.) § 3.05); see also Alexander v. Price, 275 F. Supp. 3d 313,

325 (D. Conn. 2017).


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       The AFDRB has received hundreds, and likely thousands, of applications from veterans

with mental health conditions in the last fifteen years. See Boards Statistics, Dep’t of Air Force

(2020), www.boards.law.af.mil (last visited Aug. 2, 2021). The AFDRB frequently denies these

applications unlawfully. Between 2017 and 2019 alone, the AFDRB denied 341 veterans who

demonstrated mental health conditions or experiences of sexual assault or harassment on their

discharge upgrade applications. Id. This amounts to 39.5 percent of all applications containing

such claims.

       Assuming representativeness of this sample and assuming all veterans with less-than-

Honorable discharges have applied or will apply for an upgrade, the present class includes

approximately 39.5 percent of approximately 29,760 Iraq and Afghanistan era Air Force veterans

with General or Other than Honorable discharges, for a total of approximately 11,755 veterans, as

well as thousands of veterans who will be discharged under similar circumstances in the future.

Judge Haight, in ruling on a class certification motion against the Navy’s comparable procedures,

found that “joinder would likely be burdensome and impracticable” even if there were only eighty-

five class members. Manker, 329 F.R.D at 117.

       In sum, the proposed class is so numerous that joinder is impracticable and there are a

sufficient number of proposed class members to give rise to a presumption of numerosity under

Second Circuit precedent. See Consol. Rail Corp., 47 F.3d at 483 (finding that “numerosity is

presumed” when a putative class is greater than forty members); see also Alexander, 275 F. Supp.

3d at 325 (“In the Second Circuit, numerosity is presumed at a level of 40 members.” (internal

quotation marks omitted)).




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                     2.       Commonality

       Plaintiffs’ proposed class also satisfies the requirement that there be “questions of law or

fact common to the class” because the class members “have suffered the same injury” at the hands

of the AFDRB. Dukes, 564 U.S. at 345, 350; Fed. R. Civ. P. 23(a)(2). Judge Eginton and Judge

Haight, respectively, have recognized that the similar institutional practices of the Army and Navy

discharge review boards raise common questions of fact capable of class-wide resolution.

Kennedy, 2018 WL 6727353 at *5; Manker, 329 F.R.D. at 120. The Air Force’s practices mirror

those of the Army and Navy Discharge Review Boards challenged in Kennedy and Manker and

similarly give rise to questions of law that satisfy Rule 23(a)(2)’s commonality requirement.

       Specifically, the AFDRB’s denial of Plaintiffs’ procedural rights to a fair discharge upgrade

proceeding gives rise to at least eight common questions “capable of classwide resolution.” See

Dukes, 564 U.S. at 350. “[F]or purposes of Rule 23(a)(2), [e]ven a single [common] question will

do.” Id. at 359 (internal quotation marks omitted):

           1. Whether, when reviewing proposed class members’ discharge upgrade applications,

               the Defendant has acted arbitrarily and capriciously, and/or has made decisions

               unsupported by substantial evidence and contrary to law, in violation of the Fifth

               Amendment and the Administrative Procedure Act, by failing to consistently apply

               his agency’s own binding rules and procedures—including the Hagel Memo, Kurta

               Memo, Wilkie Memo, and DoD Instruction 1332.28;

           2. Whether the Defendant, by failing to publish or explain evidentiary standards under

               which discharge upgrade applications are adjudicated, has frustrated proposed class

               members’ ability to prepare successful applications, thereby constituting arbitrary




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   agency action in violation of the Administrative Procedure Act and the denial of a

   meaningful opportunity to be heard in violation of the Fifth Amendment;

3. Whether the Defendant’s frequent and unlawful failures to maintain records

   important to the adjudication of proposed class members’ discharge upgrade

   applications denies them a meaningful opportunity to be heard, in violation of the

   Fifth Amendment and the Administrative Procedure Act’s guarantee of agency

   action consistent with the Constitution;

4. Whether the Defendant’s practice of presuming regularity in government affairs,

   despite evidence of widespread racial disparities and systemic irregularities in

   mental health treatment and administrative separation processes within the Air

   Force, amounts to arbitrary and capricious agency action in violation of the

   Administrative Procedure Act, and whether such practice results in a high risk of

   erroneous deprivation in violation of the Fifth Amendment and the Administrative

   Procedure Act;

5. Whether in its widespread denial of discharge upgrade applications involving the

   proposed class members, Defendant has failed to carry out congressional intent in

   establishing the Discharge Review Boards and setting forth the governing

   standards, thereby exceeding its authority, and has fallen short of vindicating the

   statutory rights Congress created for veterans, in violation of the Administrative

   Procedure Act;

6. Whether the AFDRB’s decision-making process, whereby decisions fail to

   meaningfully assess or engage with submitted evidence, relying instead on form




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               language, produces decisions unsupported by substantial evidence, in violation of

               the Administrative Procedure Act;

           7. Whether Defendant discriminates against the proposed class members on the basis

               of their disabilities, in violation of Section 504 of the Rehabilitation Act, in refusing

               to apply binding standards that mandate consideration of PTSD, TBI, and other

               mental health conditions when reviewing their discharge upgrade applications; in

               unwarranted skepticism of claims of disability that subject applicants with

               disabilities to a harsher review process than those without disabilities; and in the

               widespread refusal to upgrade the discharges of veterans with disabilities;

           8. Whether Defendant discriminates against the proposed class members on the basis

               of their disabilities, in violation of the equal protection clause of the Fifth

               Amendment, in refusing to apply binding standards that mandate consideration of

               PTSD, TBI, and other mental health conditions when reviewing their discharge

               upgrade applications; in unwarranted skepticism of claims of disability that subjects

               applicants with disabilities to a harsher review process than those without

               disabilities; and in the widespread refusal to upgrade the discharges of veterans with

               disabilities.

       These questions are sufficiently common because they challenge the Defendant’s “unitary

course of conduct” that has caused injuries to Plaintiffs. See Sykes v. Mel S. Harris and Associates

LLC, 780 F.3d 70, 84, 85–87 (2d Cir. 2015) (affirming certification of class challenging defendant’s

practice of obtaining default debt-collection judgments through alleged use of false affidavits and

fraudulent service, though each instance of debt collection necessarily involved individual




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affidavit and service of process, because core inquiry was into defendant’s “unitary course of

conduct” in “fraudulently procuring default judgments”).

       Here, each of the common questions arises from a common course of conduct undertaken

by the AFDRB during the evaluation of discharge upgrade applications—a course of conduct

which creates a “common injury” for all proposed class members. Id. at 84–85. Put simply,

plaintiffs allege that the AFDRB has deprived them of “fair procedures and standards” in reviewing

their discharge upgrade applications—a challenge to Defendant’s course of conduct. See Manker,

329 F.R.D. at 119 (emphasis added). The harm underlying Plaintiffs’ claims is the same for all

class members, who “share the ‘same injury’ of being subject to the [AF]DRB’s purportedly unfair

review process for characterization upgrade applications.” Id. at 120.

       Judge Eginton and Judge Haight found commonality in similar challenges to the Army and

Navy discharge review boards’ policies and procedures. This precedent involves questions of law

similar to those raised here, and favors certifying the proposed class. Indeed, no material difference

exists between the ADRB and NDRB on the one hand, and the AFDRB on the other, that would

support a finding of commonality in the former cases but not the latter.

       Importantly, as in Manker, 329 F.R.D. at 119, and Kennedy, 2018 WL 6727353, at *4, the

common questions here do not require the Court to determine whether each individual class

member is necessarily entitled to a resulting discharge upgrade, but rather can be decided

according to the class members’ shared right to a fair adjudication process. Thus, variations in

veterans’ individual circumstances do not defeat class certification. Defendant’s procedures, not

the merits of individual applications, are the basis of this lawsuit. “There may well be applications

from [class members] who would still be denied an upgrade under a ‘liberal consideration’




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standard, but the merits of any individual [AF]DRB characterization review is not at issue . . . .”

Manker, 329 F.R.D. at 119.

       The common questions in this case are “apt to drive the resolution of the litigation.” Dukes,

564 U.S. 338 at 350. In determining whether a class is to be certified, the Court may need to

“consider how a trial on the merits would be conducted.” Sykes, 780 F.3d at 86. If this proposed

class were certified, the claims could likely be resolved at summary judgment and this Court would

determine whether the AFDRB’s procedures violate the Administrative Procedure Act, Due

Process Clause, or Section 504 of the Rehabilitation Act. Factual disputes that would require a trial

would only arise where the Defendant disputes the existence or nature of the policies or procedures.

Since each of these issues is common to the class, class certification is appropriate.

                     3.        Typicality

       Plaintiffs Doe and Johnson, like thousands of other veterans comprising the proposed class,

have suffered injuries due to systemic defects in the AFDRB’s process for reviewing discharge

upgrade applications from veterans with PTSD, TBI, mental-health conditions, or experiences of

MST or IPV; thus, their claims are wholly typical of the claims of the class. Typicality is met when

each class member’s claim “arises from the same course of events” and “makes similar legal

arguments to prove the defendant’s liability.” Cent. States Se. & Sw. Areas Health & Welfare Fund

v. Merck-Medco Managed Care, L.L.C., 504 F.3d 229, 245 (2d Cir. 2007). This requirement is “not

demanding.” N.J. Carpenters Health Fund v. Residential Capital, LLC, 272 F.R.D. 160, 165

(S.D.N.Y. 2011). Since Ms. Doe and Mr. Johnson’s claims arise from the same course of events

affecting other members of the proposed class, and since members of the proposed class have

similar legal arguments, their claims are typical of the class for the purposes of Rule 23(a).




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       Ms. Doe and Mr. Johnson’s claims are sufficiently similar to other class members’ claims

to warrant certification. Typicality does not require “the representatives’ claims be identical to

those of the class members,” Trief v. Dun & Bradstreet Corp., 144 F.R.D. 193, 200 (S.D.N.Y. 1992)

(emphasis added); see also In re Oxford Health Plans, Inc. Sec. Litig., 199 F.R.D. 119, 123

(S.D.N.Y. 2001), and minor factual differences are no bar to typicality, see Robidoux v. Celani,

987 F.2d 931, 936–37 (2d Cir. 1993). Rather, the central inquiry is whether the class

representatives’ claims generally share the essential characteristics of the putative class as a whole.

See De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983).

       Here, Ms. Doe and Mr. Johnson’s claims arise from the same course of conduct—namely,

the AFDRB’s alleged general policies and practices. Plaintiffs allege, inter alia, an AFDRB policy

of non-compliance with the Hagel, Kurta, and Wilkie Memoranda, discrimination on the basis of

their disabilities, and denial of due process. These policies amount to a “unitary course of conduct”

by a single system. Sykes, 780 F.3d at 85 (2d Cir. 2015) (quoting Marisol A., 126 F.3d at 377 (2d

Cir. 1997)).

       As victims of this “unitary course of conduct,” the legal arguments made here are the same

as those available to all other members of the proposed class.

       Ms. Doe and Mr. Johnson allege that they and other class members have been denied their

statutorily mandated access to the discharge upgrade procedures set forth by Congress and

implemented by the Department of Defense. See generally, Complaint, ECF No. 1. Plaintiffs

further allege that the AFDRB’s systemic failure to properly adjudicate discharge upgrade

applications from veterans with PTSD, TBIs, other mental health conditions, and experiences of

MST or IPV violate the Administrative Procedure Act’s guarantees of agency actions that are

neither arbitrary and capricious, contrary to constitutional right, in excess of statutory authority or




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short of statutory right, nor unsupported by substantial evidence. Id. Since the proposed class

members’ claims “arise[] from the same course of events,” and “make[] similar legal arguments to

prove the defendant’s liability,” the claims of Ms. Doe and Mr. Johnson are typical. Cent. States,

504 F.3d at 245 (2d Cir. 2007).

       Further, Ms. Doe and Mr. Johnson themselves share all of the essential characteristics of

the proposed class. Like all other members of the proposed class, Ms. Doe and Mr. Johnson have

mental health conditions and/or experiences of MST or IPV that resulted in impairment, were

discharged because of misconduct attributable to their conditions or experiences, and were denied

a discharge upgrade to Honorable. Ms. Doe and Mr. Johnson, like others in the class, experienced

“the systemic failure of the [AFDRB] to give proper consideration to the directive of the Hagel

[and Kurta] Memo[s] . . . that has prejudiced their upgrade applications.” Kennedy v. Esper, 16-

cv-2010, 2018 WL 6727353, at *5 (D. Conn. Dec. 21, 2018). In short, as go the claims of Mr.

Johnson and Ms. Doe, “so go the claims of the class.” See In re Methyl Tertiary Butyl Ether (MTBE)

Prod. Liab. Litig., 241 F.R.D. 185, 197–98 (S.D.N.Y. 2007).

       Moreover, minor differences in proposed class members’ circumstances are especially

inconsequential where, like here, the relief sought is equitable in nature. See M.G. v. New York City

Dep’t of Educ., 162 F. Supp. 3d 216, 241 (S.D.N.Y. 2016). In Manker, the court rejected the

government’s argument that NDRB “review of certification upgrades is too individualized for a

class-wide resolution” given that the class sought to challenge “general policies allegedly

disadvantaging both Named Plaintiffs’ and the proposed class members’ applications, regardless

of their applications’ individual merits.” 329 F.R.D. at 121. Put simply, the named plaintiffs and

the proposed class members “suffered the same injury from the NDRB.” Id.




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        Similarly, Ms. Doe and Mr. Johnson do not seek blanket discharge upgrades for all

applicants who received deficient discharge upgrade decisions. Rather, Plaintiffs seek a

procedural, not substantive, remedy: class-wide relief from “the [AF]DRB]’s general policies and

practices . . . that disadvantag[e] both Named Plaintiffs’ and the proposed class members’

applications . . . .” Id. The individualized nature of the discharge review system is therefore not a

barrier to class certification. Ms. Doe and Mr. Johnson, who “suffered the same injury from the

[AF]DRB,” id., as other members of the proposed class and whose legal arguments are similar to

the arguments available to all members of the proposed class, have met the burden of showing

typicality.

                     4.        Adequacy of Representation

        Ms. Doe and Mr. Johnson can “fairly and adequately protect the interests of the class”

because they are committed to pursuing the litigation for the benefit of themselves and others and

because they have retained qualified counsel. See Fed. R. Civ. P. 23(a)(4). To meet this standard,

the proposed class representative must have (a) “an interest in vigorously pursuing the claims of

the class,” and (b) “no interests antagonistic to the interests of other class members.” Denney v.

Deutsche Bank AG, 443 F.3d 253, 268 (2d Cir. 2006). Additionally, class counsel must be

“’qualified, experienced and generally able’ to conduct the litigation.” In re Drexel Burnham

Lambert Grp., Inc., 960 F.2d 285, 291 (2d Cir. 1992). Ms. Doe, Mr. Johnson, and their counsel

meet these requirements.

        First, Ms. Doe and Mr. Johnson are dedicated to bringing the class claims to successful

judgment because they would benefit from the Court’s injunction. Ms. Doe and Mr. Johnson fulfill

the first prong of the adequacy test if they “stand to benefit from any class-wide injunctive relief

that may be ordered.” Robinson v. Metro-North Commuter R.R. Co., 267 F.3d 147, 171 (2d Cir.




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2001), abrogated on other grounds by Wal–Mart, 564 U.S. 338. Ms. Doe and Mr. Johnson would

directly benefit from this Court ordering the AFDRB to “establish[] constitutionally and statutorily

compliant adjudication procedures . . . [and] . . . consistently appl[y] its own procedural standards

in considering the effects of class members’ PTSD, other mental health conditions, TBIs, and

experiences of MST and IPV when determining whether to upgrade their discharge statuses.”

Compl., ECF No. 1 at Prayer for Relief (3)-(4). “A change in procedures would benefit both [Ms.

Doe and Mr. Johnson] and proposed class members by at least affording them the belief that their

applications will be held up to the correct standards.” Manker, 329 F.R.D. at 122. Thus, Ms. Doe

and Mr. Johnson have “an interest in vigorously pursuing the claims of the class.” Denney, 443

F.3d at 268.

       Second, the interests of Ms. Doe and Mr. Johnson align, rather than conflict, with those of

other class members. Conflicts of interest must be “fundamental” to defeat class certification. See

Denney, 443 F.3d at 268; In re Visa Check/MasterMoney Antitrust Litigation, 280 F.3d 124, 145

(2d Cir. 2001). Though a conflict is disqualifying only when it “goes to the very heart of the

litigation,” there is no conflict here. See Charron v. Wiener, 731 F.3d 241, 250 (2d Cir. 2013). The

injunction sought by Ms. Doe and Mr. Johnson will equally benefit all members of the class.

Though not all class members will receive discharge upgrades under the procedures the plaintiffs

seek to compel, each class member will be able to access a discharge upgrade process that fairly

adjudicates their claims. Since the injunction “sweeps broadly enough to benefit each class

member,” Sykes, 780 F.3d at 97, no conflict is presented, and Ms. Doe and Mr. Johnson are

adequate representatives.

        Finally, class counsel is “’qualified, experienced and generally able’ to conduct the

litigation.” In re Drexel Burnham Lambert Grp., Inc., 960 F.2d at 291. Plaintiff is represented by




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Yale Law School’s Veterans Legal Services Clinic and Jenner & Block LLP. The attorneys

involved in this case have extensive experience litigating complex civil matters and class actions

concerning matters of federal constitutional and statutory law, see Ex. 1 Decl. of Susan J.

Kohlmann dated September 13, 2021 (“Kohlmann Decl.”); Ex. 2, Decl. of Michael J. Wishnie

dated September 9, 2021 (“Wishnie Decl.”), including class actions specifically challenging the

discharge review procedures of other military review boards, see Manker v. Spencer, 329 F.R.D.

110 (D. Conn. 2018); Kennedy v. Esper, 16-cv-2010, 2018 WL 6727353 (Dec. 21, 2018).

        Class counsel also satisfy the criteria of Rule 23(g), which requires that the Court appoint

class counsel at the time of certification. In doing so, the Court must consider (1) “the work

counsel has done in identifying or investigating potential claims in the action,” (2) “counsel’s

experience in handling class actions, other complex litigation, and the types of claims asserted in

the action,” (3) “counsel’s knowledge of the applicable law,” and (4) “the resources that counsel

will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv). Class counsel satisfies

these requirements. See Kohlmann Decl., Ex. 1; Wishnie Decl., Ex. 2. Thus, counsel have met

their burden of proving adequacy as they are capable and qualified to litigate this class action and

they will zealously represent the interests of the full class without any conflicts.

                D. Class Certification is Appropriate under Rule 23(b)(2)

        Certification of a class pursuant to Rule 23(b)(2) is appropriate if “the party opposing the

class has acted or refused to act on grounds that apply generally to the class, so that final injunctive

relief or corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R.

Civ. P. 23(b)(2). “The key to the (b)(2) class is ‘the indivisible nature of the injunctive or

declaratory remedy warranted—the notion that the conduct is such that it can be enjoined or

declared unlawful only as to all of the class members or as to none of them.’” Dukes, 564 U.S. at

360 (quoting Richard A. Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U.


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L. Rev., 97, 132 (2009)); see also Estate of Gardner, 316 F.R.D. at 75 (finding that “forward-

looking relief” for which “an injunction is required” is “exactly the type of relief Rule 23(b)(2)

was designed to facilitate”). “Civil rights cases against parties charged with unlawful, class-based

discrimination are prime examples” of the types of class actions permitted by Rule 23(b)(2).

Amchem Products, Inc. v. Windsor, 521 U.S. 591, 614 (1997); accord Stinson v. City of New York,

282 F.R.D. 360, 379 (S.D.N.Y. 2012).

       In the instant case, the AFDRB’s refusal to properly apply binding laws or to clearly explain

and justify its evidentiary standards has denied all members of the proposed class their procedural

right to a proper review of their discharge upgrade applications. The AFDRB’s failure to

consistently apply legally required standards affects all proposed class members in the same

manner because it deprives all proposed class members of proper consideration of the impact of

experiences of MST, TBI, PTSD or other mental health conditions in their applications and denies

them adjudications consistent with fundamental due process rights. While the outcome of any

single AFDRB proceeding “‘may depend to some extent on individual facts, Defendant’s systemic

failure to apply its own official standards is a general course of conduct uniting the proposed

class.’” Manker, 329 F.R.D. at 123. This conduct is “unlawful only as to all of the class members.”

Dukes, 564 U.S. at 360.

       By the same token, the injunctive relief sought herein “would provide relief to each

member of the class,” Sykes, 780 F.3d at 97. In Manker, Judge Haight found that injunctive relief

was sufficient to meet this standard because injunctive relief would ensure that each class member

would have their applications reviewed under the correct standards. No promise of an upgrade was

necessary. Manker, 329 F.R.D. at 123. Here, the injunction sought would provide each class

member the same opportunity to have their discharge upgrade applications properly reviewed




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under the standards set forth in the Hagel, Kurta, and Wilkie Memoranda and pursuant to

evidentiary standards and procedures compliant with constitutional due process. The proposed

relief will thus benefit each class member by ensuring that AFDRB decisions are not arbitrary, but

rather based on the legally required standards set forth in the Hagel, Kurta, and Wilkie Memoranda

and related guidance. See Sykes, 780 F.3d at 97 (“Relief to each member of the class does not

require that the relief to each member of the class be identical, only that it be beneficial.”) (internal

quotations omitted).

        The requirements of Rule 23(b)(2) are satisfied in cases where, as here, “the plaintiffs seek

injunctive relief and they predicate the lawsuit on the defendants’ acts and omissions with respect

to” the proposed class. Comer v. Cisneros, 37 F.3d 775, 796 (2d Cir. 1994). In short, the nature of

the alleged injuries and the relief requested by Plaintiff applies to all members of the proposed

class equally and indivisibly—the key to a proper Rule 23(b)(2) class.

                                           CONCLUSION

        Plaintiffs propose to represent a class of Air Force veterans with less-than-Honorable

discharges. Defendant has rejected administrative applications by Ms. Doe and Mr. Johnson

requesting upgrades of their discharge statuses, and like the members of the class they seek to

represent, Ms. Doe and Mr. Johnson have PTSD, TBI, other mental health conditions, or

experiences of sexual trauma and IPV arising from their military service. The proposed class

members are all affected by the same policies and procedures imposed and improperly applied by

Defendant. Plaintiffs meet the requirements of Rules 23(a) and (b)(2) and respectfully request that

the Court certify their proposed class.


Dated: September 13, 2021
New Haven, Connecticut




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Respectfully submitted,

By: /s/ Michael J. Wishnie

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* Motion for Law Student Appearances forthcoming.
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† This brief does not purport to state the views of Yale Law School, if any.




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                                CERTIFICATION OF SERVICE

       I hereby certify that on September 13, 2021, a copy of the foregoing Memorandum of Law

in Support of Plaintiffs’ Motion for Class Certification and supporting declarations were filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system and by regular mail to any parties not yet appearing. Parties may access

this filing through the Court’s CM/ECF system.

Respectfully submitted,

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